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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK                                        MASTER DOCKET
 (SKATTEFORVALTNINGEN) TAX
 REFUND SCHEME LITIGATION                                          18-md-2865 (LAK)
 This document relates to:           18-cv-09797

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 DW CONSTRUCTION, INC. RETIREMENT
 PLAN, KAMCO INVESTMENTS, INC.
 PENSION PLAN, KAMCO LP PROFIT
 SHARING PENSION PLAN, LINDEN
 ASSOCIATES DEFINED BENEFIT PLAN,
 MOIRA ASSOCIATES DEFINED BENEFIT
 PLAN, RIVERSIDE ASSOCIATES DEFINED
 BENEFIT PLAN, AMERICAN
 INVESTMENT GROUP OF NEW YORK,
 L.P. PENSION PLAN, STACEY KAMINER,
 JOAN SCHULMAN, and DAVID
 SCHULMAN,

            Third-Party Plaintiffs,
                                                             THIRD-PARTY COMPLAINT
 v.
                                                             AND JURY DEMAND
 ED&F MAN CAPITAL MARKETS LTD.,

            Third-Party Defendant.


          Pursuant to Rule 14 of the Federal Rules of Civil Procedure, Defendants/Third-Party

Plaintiffs DW Construction, Inc. Retirement Plan (“the DW Construction Plan”), Kamco

Investments, Inc. Pension Plan (“the Kamco Investments Plan”), Kamco LP Profit Sharing Pension
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Plan (“the Kamco LP Plan”), Linden Associates Defined Benefit Plan (“the Linden Plan”), Moira

Associates Defined Benefit Plan (“the Moira Plan”), Riverside Associates Defined Benefit Plan

(“the Riverside Plan”) and American Investment Group of New York, L.P. Pension Plan (“the AIG

Plan”) (collectively, “the Plans,” and each a “Plan”) and Stacey Kaminer, Joan Schulman, and

David Schulman (collectively, “the Trustees”) (the Plans and Trustees are, collectively, the “Third-

Party Plaintiffs”), bring the following third-party claims against the Plans’ broker-custodian,

Third-Party Defendant ED&F Man Capital Markets Ltd. (“ED&F”).

       Third-Party Plaintiffs firmly believe the Plans are entitled to the withholding-tax refunds

they claimed from Plaintiff Skatteforvaltningen (“SKAT”) and that SKAT now wants returned in

its actions against Third-Party Plaintiffs.1 If, however, SKAT’s allegations against Third-Party

Plaintiffs are proven to be true, then ED&F — not Third-Party Plaintiffs — should be responsible

because ED&F (1) managed, controlled, and executed the Plans’ Danish securities transactions,

which are the focus of SKAT’s claims; (2) provided all of the information concerning the Plans’

securities, dividends, and withholding-tax information on which Third-Party Plaintiffs relied; and

(3) collected fees in connection with the Plans’ securities transactions and withholding-tax refunds.




1
   SKAT’s actions against Defendants/Third-Party Plaintiffs were consolidated in the United States
District Court for the District of Utah and then transferred to this Court as part this multidistrict
litigation pursuant to 28 U.S.C. § 1407. Thus, the above-captioned related action comprises the
following actions: SKAT v. DW Construction Inc. Retirement Plan, 18-cv-09797 (S.D.N.Y.);
SKAT v. Kamco Investments Inc. Pension Plan, 18-cv-09836 (S.D.N.Y.); SKAT v. Kamco LP
Profit Sharing Pension Plan, 18-cv-09837 (S.D.N.Y.); SKAT v. Linden Associates Defined Benefit
Plan, 18-cv-09838 (S.D.N.Y.); SKAT v. Moira Associates LLC 401K Plan, 18-cv-09839
(S.D.N.Y.); SKAT v. Riverside Associates Defined Benefit Plan, 18-cv-09840 (S.D.N.Y.); and
SKAT v. American Investment Group of New York, L.P. Pension Plan, 18-cv-09841 (S.D.N.Y.).



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                                            PARTIES

         1.    The Plans are U.S. pension plans. Each Plan is a trust forming part of a pension,

profit sharing, or stock bonus plan qualified under section 401(a) of the United States Internal

Revenue Code, exempt from taxation under section 501(a) of the United States Internal Revenue

Code, and residents of the United States of America for purposes of U.S. taxation.

         2.    The DW Construction Plan, the Kamco Investments Plan, the Kamco LP Plan, the

Linden Plan, the Moira Plan, and the Riverside Plan are located at 5532 Lillehammer Lane, Suite

103, Park City, Utah, 84098. The AIG Plan is located at 3372 Woods Edge Circle, Suite 104,

Bonita Springs, Florida, 34134. At all relevant times, Acer Investment Group, LLC (“Acer”) was

the attorney in fact for each of the Plans in connection with the transactions involving ED&F that

give rise to these third-party claims. Acer is a limited liability company registered to do business

in Utah with an office address of 5532 Lillehammer Lane, Suite 103, Park City, Utah, 84098.

         3.    Stacey Kaminer is a citizen of the United States and a resident of the State of Utah.

At all relevant times, Stacey Kaminer was trustee and duly authorized representative for the DW

Construction Plan, the Kamco Investments Plan, the Kamco LP Plan, the Moira Plan, and the AIG

Plan.

         4.    Joan Schulman is a citizen of the United States and a resident of the State of New

York. At all relevant times, Joan Schulman was trustee and duly authorized representative for the

Linden Plan.

         5.    David Schulman is a citizen of the United States and a resident of the State of New

York. At all relevant times, David Schulman was trustee and duly authorized representative for

the Riverside Plan.




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       6.      ED&F is a financial brokerage business and financial servicer headquartered at 3

London Bridge Street, London, SE1 9SG, United Kingdom. At all relevant times, ED&F managed

and controlled brokerage accounts for the Plans, executed trades in Danish securities for the Plans,

provided documentation and information to the Plans in connection with the Plans’ accounts and

securities transactions, and collected fees in connection with the Plans’ withholding-tax refund

requests.

                                 JURISDICTION AND VENUE

       7.      This Court has subject-matter jurisdiction over these third-party claims pursuant to

28 U.S.C. § 1332 because the amount in controversy exceeds $75,000 and because the claims are

between U.S. citizens and citizens of foreign states. This Court also has subject-matter jurisdiction

over these third-party claims pursuant to 28 U.S.C. § 1367 because the third-party claims form

part of the same case or controversy as SKAT’s claims.

       8.      This action was transferred from the United States District Court for the District of

Utah to this Court for pretrial purposes only pursuant to 28 U.S.C. § 1407. This Court, as the

transferee court, must apply the law the transferor court to determine whether it can exercise

personal jurisdiction.

       9.      This Court has personal jurisdiction over ED&F because ED&F’s conduct giving

rise to these third-party claims was purposefully directed toward residents of the State of Utah,

ED&F transacted business with the Plans through the Plans’ Utah-based representative and, if

SKAT’s claims are true, ED&F caused tortious injury in Utah.

       10.     These third-party claims are properly venued for pretrial purposes in the United

States District Court for the Southern District of New York because this action was transferred to

this Court for pretrial purposes only pursuant to 28 U.S.C. § 1407. These third-party claims are



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properly venued for trial in the United States District Court for the District of Utah because ED&F

is subject to that court’s personal jurisdiction.

        11.     By filing these third-party claims in the United States District Court for the

Southern District of New York, Third-Party Plaintiffs do not waive their respective rights to have

SKAT’s claims or these third-party claims transferred back to the United States District Court for

the District of Utah for purposes of trial.

                                     STATEMENT OF FACTS

    A. ED&F entered into various agreements with the Plans pursuant to which ED&F
       agreed to exercise reasonable care in relation to the Plans’ transactions and accounts.

        12.     ED&F is a broker registered with the Financial Conduct Authority (“FCA”), which

regulates the UK financial and securities markets.

        13.     In 2012, the Plans and ED&F executed various agreements (the “Agreements”) that

set forth ED&F’s obligations as broker-custodian for each of the Plans. The Agreements include

each Plans’ Custody Agreement, Security and Set-Off Deed, ISDA Master Agreement, and Terms

and Condition of Business, with variations thereto.

        14.     Attached hereto are each Plans’ Custody Agreement, specifically, for the DW

Construction Plan (Exhibit A), the Kamco Investments Plan (Exhibit B), the Kamco LP Plan

(Exhibit C), the Linden Plan (Exhibit D), the Moira Plan (Exhibit E), the Riverside Plan

(Exhibit F), and the AIG Plan (Exhibit G).

        15.     Pursuant to the Agreements, the Plans have maintained separate brokerage accounts

with ED&F since at least June 2012.

        16.     ED&F was required to exercise reasonable care when, among other things, (i)

buying or selling securities for the Plans; (ii) keeping records and statements concerning the Plans’

accounts and securities; (iii) acting on the Plans’ instructions; (iv) registering the Plans’ securities


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in compliance with FCA regulations; and (v) crediting all income, dividends, and other proceeds

on the Plans’ securities only after actual receipt and reconciliation.

       17.      ED&F’s obligations prohibited ED&F from, among other things, falsifying account

statements, buy/sell confirmations, dividend receipts, tax vouchers, or other documentation in

relation to the Plans’ securities holdings and brokerage accounts.

       18.      The Plans designated Acer as their attorney-in-fact in connection with investments

in U.S. and foreign securities transactions conducted through the Plans’ ED&F brokerage

accounts.

       19.      ED&F agreed to communicate with the Plans through Acer and, during all relevant

times, ED&F routinely communicated with the Plans through Acer in relation to ED&F’s dealings

with the Plans, which are described more fully below.

   B. The Plans engaged ED&F in relation to Danish securities, received dividends net of
      withholding taxes on their holdings, and applied for withholding-tax refunds from
      SKAT based on the information provided by ED&F.

       20.      At all relevant times herein, Danish law required Danish companies to withhold

and report to SKAT 27% of the dividends Danish companies distribute to their respective

shareholders.

       21.      Pursuant to the U.S.-Denmark Tax Treaty, Denmark cannot tax dividends paid to a

U.S. pension plan by a Danish company.

       22.      At all relevant times, SKAT served the Danish government as the agency

responsible for refunding dividend withholding taxes, including refunds of dividend withholding

taxes owed to U.S. pension plans.

       23.      Between December 2013 and August 2015, the Plans engaged ED&F to buy and

sell shares of certain Danish companies.



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       24.     As a result, ED&F generated a number of documents detailing and describing each

of the transactions, including buy/sell confirmations for the Plan’s transactions, account statements

showing that the transactions occurred, and tax vouchers describing the Plans’ security holdings

and related withholding-taxes.

       25.     ED&F provided documents and information concerning the Plans’ holdings,

security interests, and withholding-taxes to the Plans through Acer.

       26.     According to the information and documents provided by ED&F, the Plans’

holding of shares in Danish companies resulted in the crediting of dividends to the Plans’

brokerage accounts.

       27.     On information and belief, including information provided by ED&F, the Plans

held securities in Danish companies in their ED&F brokerage accounts on or around the relevant

record dates for payment of dividends (the “Holdings”) and received dividends net of withholding

taxes on those securities (the “Dividends”).

   C. Third-Party Plaintiffs relied on ED&F when the Plans applied for withholding-tax
      refunds from SKAT.

       28.     Third-Party Plaintiffs entrusted ED&F, as custodian for the Plans, with the

management and control of the Plans’ brokerage accounts, the execution of securities transactions

for the Plans, and the preparation of any tax vouchers related thereto.

       29.     ED&F prepared such tax vouchers (the “Tax Vouchers”) by which ED&F

confirmed the Plans’ relevant shareholdings over the applicable dividend dates and described the

Dividends received by the Plans net of withholding taxes.

       30.     ED&F prepared a Tax Voucher for each of the Plans’ Holdings and Dividends.

       31.     The Plans, through Acer, received the Tax Vouchers from ED&F.




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       32.     With each of the Tax Vouchers, ED&F stated that it “has no beneficial interest in

the holding and will not be reclaiming the tax. The dividends specified on this credit advice were

paid net of withholding tax to [the Plan].” For example:




       33.     Attached hereto are the relevant Tax Vouchers provided by ED&F for the Plans’

withholding-tax refunds, specifically, seven (7) Tax Vouchers for the DW Construction Plan



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(Exhibit H), six (6) Tax Vouchers for the Kamco Investments Plan (Exhibit I), five (5) Tax

Vouchers for the Kamco LP Plan (Exhibit J), twelve (12) Tax Vouchers for the Linden Plan

(Exhibit K), eight (8) Tax Vouchers for the Moira Plan (Exhibit L), eleven (11) Tax Vouchers for

the Riverside Plan (Exhibit M), and eleven (11) Tax Vouchers for the AIG Plan (Exhibit N).

       34.     At all relevant times, ED&F was uniquely positioned to confirm the status of the

Plans’ Holdings, Dividends, brokerage accounts, securities transactions, and entitlement to

dividend withholding taxes.

       35.     Third-Party Plaintiffs placed their confidence in ED&F to act primarily for the

benefit of the Plans and placed the Plans’ property, interests, and trust in the charge of ED&F.

       36.     On information and belief, ED&F was the only entity that had direct control over

the information concerning, among other things, the Plans’ brokerage accounts, securities in those

accounts, receipt of dividends, and entitlement to dividend withholding taxes.

       37.     After ED&F confirmed that the Plans received the Dividends net of withholding

taxes, ED&F sent the Tax Vouchers to Goal Taxback Ltd. (“Goal Taxback”), a third-party

payment-processing agent, who then submitted the applications for withholding-tax refunds to

SKAT on behalf of the Plans.

       38.     Third-Party Plaintiffs reasonably relied on the Tax Vouchers and other information

provided by ED&F, including buy/sell confirmations and account statements, to form the belief

that (i) the Plans’ Holdings and Dividends were accurate; (ii) the Plans actually held the securities

they represented to SKAT that they owned; (iii) the Plans received the Dividends; (iv) dividend

tax was withheld in relation to the Dividends and the Holdings; and (v) the Plans were entitled to

withholding-tax refunds from SKAT.




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        39.     Third-Party Plaintiffs reasonably relied on the Tax Vouchers and other information

provided by ED&F, including buy/sell confirmations and account statements, when they requested

the withholding-tax refunds from SKAT through Goal Taxback.

        40.     SKAT paid the Plans through Goal Taxback for all of the Plans’ withholding-tax

refunds until August 2015, at which point SKAT stopped paying withholding-tax refund claims.

The Plans’ refunds that SKAT refused to pay beginning in August 2015 are the subject of each of

the Plans’ counterclaims against SKAT, filed in SKAT v. DW Construction Inc. Retirement Plan

(18-cv-09797, 18-md-2865 (S.D.N.Y.)) on July 29, 2019.

        41.     In 2018, SKAT sued Third-Party Plaintiffs seeking damages and/or restitution in

the amount of the withholding-tax refunds SKAT paid to the Plans, alleging fraud, aiding and

abetting fraud, negligent misrepresentation, unjust enrichment, and money had and received.

        42.     The refunds SKAT seeks to have returned in its actions against the Third-Party

Plaintiffs are as follows:

                Plan / Trustee                                 Amount Claimed by SKAT
                The DW Construction Plan / Kaminer             $ 2,130,000.00
                The Kamco Investments Plan / Kaminer           $ 1,643,000.00
                The Kamco LP Plan / Kaminer                    $ 2,397,000.00
                The Linden Plan / Joan Schulman                $ 2,062,000.00
                The Moira Plan / Kaminer                       $ 2,660,000.00
                The Riverside Plan / David Schulman            $ 1,992,000.00
                The AIG Plan / Kaminer                         $ 3,388,000.00
                TOTAL                                          $16,272,000.00

    D. If SKAT proves the Plans did not own the shares they claimed to own, did not earn
       the dividends they claimed to have earned, or were otherwise not entitled to the
       withholding taxes they claimed, then ED&F should be responsible for any amounts
       claimed by SKAT.

        43.     SKAT alleges Third-Party Plaintiffs misrepresented the Plans’ Holdings and

Dividends when the Plans requested the withholding-tax refunds.




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       44.      SKAT alleges that each Plan did not own the shares that they claimed to own, did

not earn the dividends they claimed to have earned, and were not entitled to the tax refunds that

they claimed.

       45.      SKAT also alleges that ED&F provided statements falsely representing that the

Plans owned shares in Danish companies and had earned dividends on those shares.

       46.      To be clear, the Plans have never attempted to defraud or commit other wrongful

actions against SKAT.2

       47.      If, however, SKAT proves its claims and establishes that Third-Party Plaintiffs are

liable to SKAT for some or all of SKAT’s alleged damages or amounts it claims to be owed, then

ED&F should be responsible for such damages because of ED&F’s obligations under the

Agreements and because of its unique position by which it managed and controlled the Plans’

brokerage accounts, executed securities transactions for the Plans, and confirmed the Plans’

Holdings, Dividends, and withholding-tax refunds.

    E. Alternatively, ED&F must repay the fees it collected in relation to the Plans’
       transactions and withholding-tax refunds if SKAT is entitled to damages or
       restitution.

       48.      Parties that facilitate securities transactions and related transactions typically

charge fees. Fees are often charged as a percentage of the total profit or cost of the transaction.




2
  SKAT sued ED&F in the United Kingdom (the “U.K. Proceeding”) over the same transactions
that are the basis of SKAT’s claims against Third-Party Plaintiffs. Notably, however, in the U.K.
Proceeding, SKAT did not allege that ED&F committed any fraud. Instead, SKAT described
ED&F as a “non-fraud defendant” and only accused ED&F of negligent misrepresentation.
SKAT’s positions in the two litigations are inconsistent. Third-Plaintiffs wholly relied on
documents and information provided by ED&F as custodian for the Plans. Accordingly, SKAT
should not be allowed to accuse Third-Party Plaintiffs of fraud in this litigation while taking the
position in the U.K. Proceeding that ED&F is a “non-fraud defendant.”

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This is common in many service-oriented industries and is simply understood as the “cost of doing

business.”

        49.     As should be expected, ED&F collected fees from the Plans in connection with the

Plans’ transactions, Holdings, Dividends, and/or withholding-tax refunds.

        50.     If SKAT’s allegations are proven to be true or if SKAT is otherwise entitled to

reimbursement of some or all of the amounts that SKAT reimbursed or refunded to the Plans, then

ED&F should be required, at a minimum, to return any fees it collected from the Plans in

connection with the Plans’ transactions, Holdings, Dividends, and/or withholding-tax refunds.

                                  THIRD-PARTY CLAIM COUNT I
                                Breach of Contract – The Plans v. ED&F

        51.     The Plans repeat and reallege paragraphs 1 through 50 of these Third-Party Claims

as if set forth fully herein.

        52.     The Agreements between the Plans and ED&F constitute binding and enforceable

contracts.

        53.     The Plans performed their obligations under the Agreements at all relevant times.

        54.     ED&F’s obligations required ED&F to exercise reasonable care when, among other

things, (i) buying or selling securities for the Plans; (ii) keeping records and statements concerning

the Plans’ brokerage accounts and ownership of securities; (iii) acting on the Plans’ instructions;

(iv) registering the Plans’ securities in compliance with all applicable rules and regulations; and

(v) crediting all income, dividends, and other proceeds on the Plans’ securities only after actual

receipt and reconciliation.

        55.     ED&F’s obligations prohibited ED&F from, among other things, falsifying account

statements, buy/sell confirmations, dividend receipts, tax vouchers, or other documentation in

relation to the Plans’ securities holdings and brokerage accounts.


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       56.     SKAT’s claims against Third-Party Plaintiffs involve issues and circumstances for

which any liability of the Plans or Trustees, if any exists, rests with ED&F.

       57.     If SKAT’s allegations are proven to be true or if SKAT is otherwise entitled to the

amounts it claims to be owed, then ED&F breached the Agreements, and the Plans will have been

damaged, in an amount to be determined, as a direct result of ED&F’s breaches of contract.

       58.     Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to the amounts it claims to be owed, then ED&F should be liable to the Plans for any amounts or

other remedies the Plans are found to owe SKAT, including, but not limited to, damages,

restitution, punitive damages, and/or fees and costs, plus interest.

                            THIRD-PARTY CLAIM COUNT II
                  Breach of Fiduciary Duty – Third-Party Plaintiffs v. ED&F

       59.     Third-Party Plaintiffs repeat and reallege paragraphs 1 through 58 of these Third-

Party Claims as if set forth fully herein.

       60.     ED&F, as custodian to the Plans, had a fiduciary relationship with Third-Party

Plaintiffs. Third-Party Plaintiffs placed their confidence in ED&F to act in good faith and

primarily for the benefit of the Plans and placed the Plans’ property, interests, and trust in the

charge of ED&F. ED&F was uniquely positioned to confirm the Plans’ Holdings, Dividends,

brokerage accounts, securities transactions, and entitlement to dividend withholding taxes.

       61.     On information and belief, ED&F was the only entity that had direct control over

information concerning, among other things, the Plans’ brokerage accounts, securities

transactions, receipt of dividends, and entitlement to dividend withholding taxes.

       62.     Because of its fiduciary relationship with Third-Party Plaintiffs, ED&F was

required to deal truthfully and primarily for the benefit of the Plans at all times, to exercise




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reasonable care, skill, and diligence, and to advise Third-Party Plaintiffs of all relevant facts and

circumstances known to ED&F.

       63.     ED&F’s fiduciary duties are separate and distinct from its contractual obligations

to the Plans under the Agreements.

       64.     If SKAT’s allegations are proven to be true or if SKAT is otherwise entitled to the

amounts it claims to be owed, then ED&F breached its fiduciary obligations owed to Third-Party

Plaintiffs, and Third-Party Plaintiffs will have been damaged, in an amount to be determined, as a

direct result of ED&F’s breaches.

       65.     Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to the amounts it claims to be owed, then ED&F should be liable to Third-Party Plaintiffs for any

amounts or other remedies Third-Party Plaintiffs are found to owe SKAT, including, but not

limited to, damages, restitution, punitive damages, and/or fees and costs, plus interest.

                             THIRD-PARTY CLAIM COUNT III
                      Promissory Estoppel – Third-Party Plaintiffs v. ED&F

       66.     Third-Party Plaintiffs repeat and reallege paragraphs 1 through 65 of these Third-

Party Claims as if set forth fully herein.

       67.     ED&F promised to exercise reasonable care when, among other things, (i) buying

or selling securities for the Plans; (ii) keeping records and statements concerning the Plans’

brokerage accounts and ownership of securities; (iii) acting on the Plans’ instructions; (iv)

registering the Plans’ securities in compliance with all applicable rules and regulations; and (v)

crediting all income, dividends, and other proceeds on the Plans’ securities only after actual receipt

and reconciliation.




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       68.     ED&F promised to create only truthful and accurate documents in relation to the

Plans’ account statements, buy/sell confirmations, dividend receipts, tax vouchers, or other

documentation in relation to the Plans’ securities holdings and brokerage accounts.

       69.     ED&F should have reasonably expected — and, on information and belief, did

reasonably expect — its promises to induce Third-Party Plaintiffs to rely on the Tax Vouchers and

other information provided by ED&F, including buy/sell confirmations and account statements, to

form the belief that (i) the Plans’ Holdings and Dividends were, in fact, accurate and legitimate;

(ii) the Plans actually held the securities they represented to SKAT that they owned; (iii) the Plans

actually received the Dividends they claimed to have received; (iv) taxes were withheld in relation

to the Dividends and Holdings; and (v) the Plans were entitled to the withholding-tax refunds.

       70.     Third-Party Plaintiffs acted with prudence and in reasonable reliance on ED&F’s

promises when they authorized Goal Taxback to submit applications for the withholding-tax

refunds from SKAT and refrained from seeking from any other party a tax voucher or other

documentation to support the Plans’ tax-withholding refund claims. On information and belief,

ED&F knew that Third-Party Plaintiffs so relied on ED&F’s promises.

       71.     ED&F knew all important and material facts concerning its promises, the Holdings,

the Dividends, and the withholding-tax refunds.

       72.     If, as SKAT alleges, the Plans never held the shares they claimed to own, never

received the dividends they claimed to have received, and/or are otherwise not entitled to the

withholding-tax refunds, then ED&F failed to fulfill its promises, and Third-Party Plaintiffs will

have been damaged, in an amount to be determined, as a result of ED&F’s failure to fulfill its

promises.




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       73.     Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to the amounts it claims to be owed, then ED&F should be liable to Third-Party Plaintiffs for any

amounts or other remedies Third-Party Plaintiffs are found to owe SKAT, including, but not

limited to, damages, restitution, punitive damages, and/or fees and costs, plus interest.

                             THIRD-PARTY CLAIM COUNT IV
                      Unjust Enrichment – Third-Party Plaintiffs v. ED&F

       74.     Third-Party Plaintiffs repeat and reallege paragraphs 1 through 73 of these Third-

Party Claims as if set forth fully herein.

       75.     ED&F collected fees from the Plans in connection with the Plans’ transactions,

Holdings, Dividends, and withholding-tax refunds.

       76.     SKAT has alleged that the Plans’ transactions, Holdings, and Dividends were

falsified and that the Plans were not entitled to the withholding-tax refunds from SKAT.

       77.     It would be unjust for ED&F to retain the fees it collected in connection with the

Plans’ transactions, Holdings, Dividends, and withholding-tax refunds if SKAT’s allegations are

proven to be true or if SKAT is otherwise entitled to reimbursement of some or all of the amounts

that SKAT paid the Plans.

       78.     On information and belief, ED&F knowingly possesses the fees it collected from

the Plans.

       79.     Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to reimbursement of some or all of the amounts that SKAT paid the Plans, then ED&F will have

been unjustly enriched in the amount of the fees it collected from the Plans, and ED&F should be

liable to account and return the fees, plus interest.




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                              THIRD-PARTY CLAIM COUNT V
                   Equitable Indemnification – Third-Party Plaintiffs v. ED&F

         80.   Third-Party Plaintiffs repeat and reallege paragraphs 1 through 79 of these Third-

Party Claims as if set forth fully herein.

         81.   If SKAT’s allegations are proven to be true or if SKAT is otherwise entitled to the

amounts it claims to be owed, then Third-Party Plaintiffs will be liable to SKAT or will be

obligated to repay SKAT the entire amount of the withholding-tax refunds paid by SKAT to the

Plans.

         82.   However, as alleged herein, Third-Party Plaintiffs relied on ED&F and ED&F’s

own statements, and furthermore, SKAT has alleged that it was ED&F that provided the statements

falsely representing that the Plans owned shares in Danish companies and had earned dividends

on those shares.

         83.   Thus, if SKAT’s allegations are proven to be true or if SKAT is otherwise entitled

to the amounts it claims to be owed, then ED&F should be obligated to indemnify Third-Party

Plaintiffs for all costs they have incurred and may incur as a result of any of SKAT’s claims,

including, but not limited to, (i) any amounts owed by Third-Party Plaintiffs to SKAT or, in the

alternative, any amounts ED&F received in connection with the Plans’ transactions, Holdings,

Dividends, and withholding-tax refunds, and (ii) any of the Third-Party Plaintiffs’ attorneys’ fees

and costs, plus pre-judgment interest and other expenses arising out of or related to these third-

party claims and SKAT’s claims against the Third-Party Plaintiffs.

                            THIRD-PARTY CLAIM COUNT VI
                    Apportionment of Fault – Third-Party Plaintiffs v. ED&F

         84.   Third-Party Plaintiffs repeat and reallege paragraphs 1 through 83 of these Third-

Party Claims as if set forth fully herein.



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        85.     SKAT has filed claims against Third-Party Plaintiffs for damages and restitution

arising out of and related to Third-Party Plaintiffs’ dealings with ED&F.

        86.     SKAT alleged that ED&F provided statements falsely representing that the Plans

owned shares in Danish companies and had earned dividends on those shares, and thus, if SKAT

proves its claims, then ED&F should be responsible for all or a portion of SKAT’s alleged harm.

        87.     Pursuant to the Utah Liability Reform Act, Utah Code §§ 78B-5-817, et seq., Third-

Party Plaintiffs allege that all fault should be apportioned to ED&F for SKAT’s claims against

Third-Party Plaintiffs, including, but not limited to, damages, restitution, punitive damages, and/or

fees and costs, plus interest.

        88.     Third-Party Plaintiffs intend to include ED&F on a special verdict form for the

purposes of allocation of fault, consistent with the above.

                                         JURY DEMAND

        Third-Party Plaintiffs demand a jury trial on all issues so triable.

                                    REQUEST FOR RELIEF

        WHEREFORE, Third-Party Plaintiffs respectfully request that this Court enter judgment

in their favor and against ED&F as follows:

          I.    Enter judgment in favor of the Third-Party Plaintiffs against ED&F on the third-
                party claims against ED&F;

         II.    Apportion all fault to ED&F for SKAT’s claims against Third-Party Plaintiffs,
                pursuant to the Utah Liability Reform Act, Utah Code §§ 78B-5-817, et seq.;

        III.    In the event SKAT successfully proves its claims against Third-Party Plaintiffs,
                require ED&F to indemnify Third-Party Plaintiffs for all costs arising out of or
                related to SKAT’s claims against the Third-Party Plaintiffs and these third-party
                claims, including the Third-Party Plaintiffs’ attorneys’ fees and costs, plus pre-
                judgment interest, costs, and expenses;

        IV.     Award the Third-Party Plaintiffs their attorneys’ fees and costs; and

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     V.    Grant such other preliminary, permanent, compensatory, or punitive relief against
           ED&F and in favor of the Third-Party Plaintiffs as the Court deems just and proper.


August 12, 2019                          Respectfully submitted,

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